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                          IN THE UNITED STATE DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:23-cv-939-DDD-SKC
  BELLA HEALTH AND WELLNESS, et al.,
         Plaintiffs,
  v.
  PHIL WEISER, in his official capacity as Attorney General of Colorado, et al.,
         Defendants.


                             MOTION TO WITHDRAW AS COUNSEL

         First Assistant Attorney General Abigail Hinchcliff respectfully moves to withdraw as

  counsel for Defendant, Philip J. Weiser, in his official capacity as Attorney General for the State

  of Colorado. In support of this motion, Ms. Hinchcliff states as follows:

         1. Under Local Rule 7.1(b)(4), undersigned counsel was not required to confer with

             Plaintiff before filing this Motion.

         2. The withdrawing attorney certifies that she has complied with all outstanding orders

             of the Court.

         3. The withdrawing attorney will no longer be affiliated with the Colorado Attorney

             General’s Office after Friday, September 1, 2023.

         4. Senior Assistant Attorney General Michael Kotlarczyk and Assistant Solicitor

             General Grant T. Sullivan remain as active counsel for Defendant Weiser.
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         WHEREFORE, Defendant respectfully requests that this Court enter an order approving

  the withdrawal of First Assistant Attorney General Abigail Hinchcliff as counsel of record and

  that electronic service to Ms. Hinchcliff in this matter via the CM/ECF system be terminated.

         Respectively submitted this 31st day of August, 2023.


                                              PHILIP J. WEISER
                                              Attorney General

                                              s/ Abigail Hinchcliff
                                              s/ Grant T. Sullivan
                                              s/ Michael T. Kotlarczyk
                                              ABIGAIL HINCHCLIFF*
                                              First Assistant Attorney General
                                               GRANT T. SULLIVAN*
                                              Assistant Solicitor General
                                              MICHAEL T. KOTLARCZYK*
                                              Senior Assistant Attorney General

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                                              *Counsel of Record




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                                 CERTIFICATE OF SERVICE

              I hereby certify that on August 31, 2023, I served a true and complete copy of the
  foregoing MOTION TO WITHDRAW AS COUNSEL upon all parties herein by e-filing with
  the CM/ECF system maintained by the court and/or email.




                                                            s/ Xan Serocki
                                                            XAN SEROCKI
